        Case 3:16-cr-00085-MEM Document 347 Filed 01/12/21 Page 1 of 12




                    UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                :

         v.                             :         CRIMINAL NO. 3:16-85

JEFFREY GUZMAN,                         :          (JUDGE MANNION)

                  Defendant             :


                               MEMORANDUM
        Before the court is the pro se motion to vacate conviction and correct

sentence pursuant to 28 U.S.C. §2255 filed by the Defendant Jeffrey

Guzman based upon an alleged error of fact related to the applicability of a

two-level enhancement in his sentencing calculation. (Doc. 323). For the

reasons set forth below, the motion will be DENIED without the need for an

evidentiary hearing.



   I.     BACKGROUND

        By way of relevant background, on April 12, 2016, a grand jury returned

a six-count Superseding Indictment against Defendant and five others for

crimes related to drug trafficking. (Doc. 109).

        On May 5, 2017, Defendant entered into a plea agreement wherein he

agreed to plead guilty to Counts 1 and 6 of the Superseding Indictment in

which he was charged with conspiracy to distribute and possess with intent

to distribute heroin and cocaine, and the government would move to dismiss
      Case 3:16-cr-00085-MEM Document 347 Filed 01/12/21 Page 2 of 12




the remaining Counts. (Doc. 215, at 3). The plea agreement specifically

noted, “The defendant understands that none of these stipulations is binding

upon either the court or the United States Probation Office, which may make

different findings as to the application of the Sentencing Guidelines to the

defendant’s conduct.” (Doc. 215, at 10). 1

      On May 26, 2017, Defendant appeared in court, the court granted his

motion to withdraw his plea of not guilty, and Defendant entered a guilty plea

to Counts 1 and 6 of the Superseding Indictment. (Doc. 229). Defendant

additionally signed an Acknowledgement of Rights Waived by Guilty Plea.

(Doc. 230).

      A Presentence Report (“PSR”) was ordered by the court and prepared

by the Probation Office. A draft PSR was distributed to the parties on July

24, 2017, and a final PSR on September 13, 2017. The final PSR included a

two-level enhancement due to the fact that “the defendant committed the

offense as part of a pattern of criminal conduct engaged in as a livelihood.”

U.S.S.G. §2D1.1(b)(15)(E). With respect to his employment record, the PSR

stated:

              The subject has a limited work history. He reported
              temporary employment positions for brief periods at
              Preferred Meals, Scranton, and MIA Products,
              Moosic. Preferred Meals has no record of the

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      Defendant initially appeared before the court on May 10, 2020, for a
change of plea hearing but ultimately decided not to plead guilty. (Doc. 216).
                                    -2-
      Case 3:16-cr-00085-MEM Document 347 Filed 01/12/21 Page 3 of 12




            defendant. Records form MIA Products have been
            requested. The defendant stated that he performed
            odd side-jobs for money such has cutting hair and
            repairing vehicles. It is noted that the defendant was
            incarcerated for most of 2012 and 2013, and that the
            instant offense began in at least 2015.

(Doc. 262, at 17).
      The United States Probation Office filed an addendum to the PSR on

September 26, 2017, indicating that Defendant objected to the application of

the two-level enhancement because it was “never discussed . . . prior to his

guilty plea.” (Doc. 268, at 1). The Probation Office, however, maintained that

the enhancement was merited, noting that §4B1.3 of the United States

Sentencing Guidelines defines “Pattern of criminal conduct” as “planned

criminal acts occurring over a substantial period of time,” and “Engaged in

as a livelihood” as:

            (A) the defendant derived income from the pattern of
            criminal conduct that in any twelve-month period
            exceeded 2,000 times the then existing hourly
            minimum wage under federal law;[2] and (B) the
            totality of circumstances shows that such criminal
            conduct was the defendant’s primary occupation in
            that twelve-month period (e.g., the defendant
            engaged in criminal conduct rather than regular,
            legitimate employment; or the defendant’s legitimate
            employment was merely a front for the defendant’s
            criminal conduct).


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      The Probation Office noted that the then-existing hourly minimum
wage was $7.25, which when multiplied by 2,000 totaled $14,500.
                                 -3-
      Case 3:16-cr-00085-MEM Document 347 Filed 01/12/21 Page 4 of 12




§4B1.4 (Commentary). The Probation Office noted that, as detailed in the

PSR, Defendant had a “virtually non-existent work history,” and that the facts

of the case supported a finding that Defendant earned at least $14,500 from

his criminal activity. (Doc. 268, at 2).

      On June 27, 2017, the court sentenced Defendant to 96 months’

imprisonment. At the sentencing hearing, Defendant confirmed that he had

the opportunity to review and discuss the PSR with counsel. The court then

heard argument regarding the two-level criminal livelihood enhancement.

Defendant’s primary objection to the enhancement was that he believed the

plea he tendered was “very specific” and that, although the government “had

a number of opportunities” to “discuss that enhancement,” evidently, it did

not. (Doc. 322, at 4). Defendant also argued that the enhancement was not

on his “radar” and “may have affected his decision” to plead guilty. (Doc. 322,

at 4). Significantly, however, Defendant did not argue that the PSR was

incorrect with respect to its description of his work history. The court

ultimately overruled Defendant’s objection, agreeing with the government

that the enhancement applied because Defendant’s record “show[ed]

virtually no other employment of any kind that would be of substance in this




                                       -4-
         Case 3:16-cr-00085-MEM Document 347 Filed 01/12/21 Page 5 of 12




particular case.” (Doc. 322, at 7).3 Further, the court noted that, insofar as

the plea agreement was not a Rule 11(c)(1)(C) plea, the parties’ discussion

or understanding of the applicable guideline range was not presented to the

court and, moreover, as the court made clear at the change of plea hearing,

the court is not bound by their agreed-upon guideline range.

         Defendant did not file an appeal. Instead, on September 14, 2018,

Defendant filed the present motion to vacate. (Doc. 323). On November 23,

2018, the government filed a brief in opposition. (Doc. 328). Defendant

sought additional time to file a reply brief, (Doc. 326), which the court

granted, (Doc. 330); however, Defendant did not file a reply brief.



   II.       STANDARD
         When a district court judge imposes a sentence on a defendant who

believes that “the sentence was imposed in violation of the Constitution or

laws of the United States, or that the court was without jurisdiction to impose

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         The court noted that the Superseding Indictment indicated that
Defendant had distributed between 100 and 400 grams of heroin and more
than 40 grams of crack cocaine base. Given the court’s experience that
heroin generally sells for $50 a gram and crack cocaine sells for around $40-
$45 a gram, Defendant would have made around $7,500 during the two-
month period charged in the Superseding Indictment. Extrapolating his
yearly income based upon his income from that two-month period, the court
observed that Defendant’s income from his criminal activities well-exceeded
the $14,500 amount listed in the Guidelines. (Doc. 322, at 8-9).
                                     -5-
      Case 3:16-cr-00085-MEM Document 347 Filed 01/12/21 Page 6 of 12




such sentence, or that the sentence was in excess of the maximum

authorized by law, or is subject to collateral attack, [the defendant] may move

the court which imposed the sentence to vacate, set aside or correct the

sentence.” 28 U.S.C. §2255. See United States v. Eakman, 378 F.3d 294,

297-98 (3d Cir. 2004).

      The rule states, “If it plainly appears from the motion, any attached

exhibits, and the record of prior proceedings that the moving party is not

entitled to relief, the judge must dismiss the motion and direct the clerk to

notify the moving party.” See United States v. Bendolph, 409 F.3d 155, 165

n.15 (3d Cir. 2005) (stating district courts have the power to dismiss petitions

sua sponte during the Rule 4 stage of habeas proceedings).

      A Section 2255 motion “is addressed to the sound discretion of the

district court.” United States v. Williams, 615 F.2d 585, 591 (3d Cir. 1980). A

motion under 28 U.S.C. §2255 is the proper procedure for a federal prisoner

to raise a collateral attack on his federal sentence for any error that occurred

at or prior to sentencing. See In re Dorsainvil, 119 F.3d 245 (3d Cir. 1997).

In order to prevail on a Section 2255 motion to vacate, set aside, or correct

a sentence, the defendant must show “(1) an error of constitutional

magnitude; (2) a sentence imposed outside the statutory limits; or (3) an error

of fact or law that was so fundamental as to render the entire proceeding

invalid.” United States v. Bates, 2008 WL 80048, at *2 (M.D.Pa. Jan. 7, 2008)

                                     -6-
          Case 3:16-cr-00085-MEM Document 347 Filed 01/12/21 Page 7 of 12




(quoting Mallett v. United States, 334 F.3d 491, 496-97 (6th Cir. 2003)). The

defendant bears the burden of proof under Section 2255 and must

demonstrate his right to relief by a preponderance of the evidence. United

States v. Ayers, 938 F.Supp.2d 108, 112 (D.D.C. 2013).


   III.     DISCUSSION
          Here, Defendant fails to set forth any jurisdictional or constitutional

errors that merit the vacating of his sentence. Defendant’s sole argument is

that the two-level criminal livelihood enhancement was improper because

the court was presented with “erron[e]ous information.” (Doc. 323, at 4).

Defendant contends that, although the PSR indicated he had either been

unemployed or incarcerated from 2013 to 2015, his only incarceration was a

period of 30 days for a curfew violation in 2014 and that he worked

“consistently” as an auto mechanic, barber, and maintenance man. (Doc.

323, at 4). Defendant states he did not raise this issue in court “because I

basically went into shock.” (Doc. 323, at 4).

          Defendant’s assertions, however, are belied by his admissions to this

court as well as the record of this case. Defendant was represented by

counsel throughout this case. At his sentencing, Defendant confirmed that

he and his attorney reviewed the PSR. Defendant, through counsel,

specifically filed an objection to the criminal livelihood enhancement in the


                                        -7-
       Case 3:16-cr-00085-MEM Document 347 Filed 01/12/21 Page 8 of 12




draft PSR and, further, the court heard argument from his counsel during his

sentencing on that point. Thus, contrary to his claims that he was surprised

by the enhancement at sentencing, Defendant was indeed well aware of the

PSR’s recommendation that two-level enhancement applied prior to the day

of his sentencing. Despite this, Defendant did not attempt to provide any

information documenting his employment, nor did he request more time so

that he could do so. Having failed to provide this information to the Probation

Office or the court prior to his sentencing despite his awareness that his

employment history subjected him to a two-level enhancement, Defendant

cannot now attempt to provide that alleged information in hopes of changing

his sentence.

      Notably, when provided the opportunity, Defendant did elect to speak

at his sentencing, but none of his remarks pertained in any way to his

sentencing guidelines or employment history. (Doc. 322, at 15). Accordingly,

Defendant’s present argument that he was aware of purported factual errors

regarding his work history in the PSR that he could not or would not raise at

the time falls well-short of his burden of establishing that he is entitled to

Section 2255 relief. See Perna v. United States, 975 F.Supp. 657, 664

(D.N.J. 1997) (“A petitioner’s failure to raise a particular error either at trial or

on direct appeal generally precludes the assertion of that error for the first

time in a collateral attack under Section 2255 . . . Where a petition is

                                        -8-
      Case 3:16-cr-00085-MEM Document 347 Filed 01/12/21 Page 9 of 12




predicated upon information known by the defendant and his counsel at the

time of the trial or at a point at which an appeal could have been taken, such

knowledge is fatal to a Section 2255 claim.”).

      In any case, regardless of whether Defendant was aware of the

applicability of the two-level criminal livelihood enhancement, Defendant was

fully aware that the court was not bound by the recommendations and

stipulations of the parties. The plea agreement provided that the Probation

Office and/or the court “may make different findings as to the application of

the Sentencing Guidelines to the defendant’s conduct.” (Doc. 215, at 10).

      Additionally, at his change of plea hearing, Defendant specifically

acknowledged that the court could impose a sentence different from any

estimate his attorney gave him and that the court could impose a sentence

more or less severe than the recommended guideline sentence. Defendant

gave no indication at any point that he did not understand the representations

he was making to the court. To the contrary, at every point, he indicated he

wished to plead guilty. Accordingly, there is no merit to Defendant’s present

suggestion that would not have pleaded guilty had he been aware that the

two-level enhancement might apply. The court need not accept Defendant’s

allegations as true if they “are unsupported by specifics [or] wholly incredible

in the face of the record.” Patton v. United States, 2010 WL 3191887, *1

(W.D.Pa. 2010) (citing United States v. Estrada, 849 F.2d 1304,1307 (10th

                                     -9-
         Case 3:16-cr-00085-MEM Document 347 Filed 01/12/21 Page 10 of 12




Cir. 1988)). A review of the motion, the transcripts, exhibits, and the briefs of

both parties, as well as the law and the claims, makes clear that Defendant’s

allegations are wholly unsupported by the record. Therefore, the court finds

that Defendant has failed to demonstrate a fundamental error of fact in

sentencing that rendered the proceedings invalid. Accordingly, Defendant is

not entitled to Section 2255 relief and the court will DENY his motion to

vacate. (Doc. 323).4


   IV.       EVIDENTIARY HEARING

         Although Defendant does not specifically request an evidentiary

hearing, in its brief, the government argues that Defendant’s motion should

be denied without a hearing. The court agrees.

         A court is required to conduct an evidentiary hearing to ascertain the

facts “unless the motion and files and records of the case show conclusively


         4
          Additionally, the court will DENY Defendant’s request for the
appointment of counsel, since Defendant’s arguments regarding the errors
in his sentence are meritless and Defendant’s only argument in support of
his request for counsel is that he is “broke.” (Doc. 323, at 12). See United
States v. Winkelman, 548 F.Supp.2d 142, 160 (M.D.Pa. 2008) (“Under
Tabron [v. Grace, 6 F.3d 147, 153 (3d Cir.1993)], the first consideration by a
district court [with respect to appointment of counsel in habeas proceedings]
should be whether the petitioner’s claim has some merit in fact and law.”
(internal quotation marks omitted)). Because Defendant has not overcome
the first hurdle of showing his case has some arguable merit, the court need
not analyze the remaining Tabron factors. Montgomery v. Pinchak, 294 F.3d
492, 499 (3d Cir. 2002).
                                      - 10 -
       Case 3:16-cr-00085-MEM Document 347 Filed 01/12/21 Page 11 of 12




that the movant is not entitled to relief.” United States v. Day, 969 F.2d 39,

41-42 (3d Cir. 1992). In considering a motion to vacate, the court “must

accept the truth of the movant’s factual allegations unless they are clearly

frivolous on the basis of the existing record.” Johnson v. United States, 294

Fed.App’x 709, 710 (3d Cir. 2008) (internal quotation marks omitted).

However, the court need not accept a movant’s allegations if they are

“unsupported by specifics [or] wholly incredible in the face of the record.”

Patton v. United States, 2010 WL 3191887, at *1 (W.D.Pa. 2010).

       Upon review of the motion, the government’s brief, the record, and

applicable law, it is clear that Defendant’s allegations regarding his

employment are frivolous and wholly unsupported by the record. Therefore,

the court finds that Defendant is not entitled to an evidentiary hearing

because the record establishes that he is not entitled to the relief sought in

his motion.



  V.     CERTIFICATE OF APPEALABILITY

       A petitioner may not file an appeal from a final order unless a district

or circuit judge issues a certificate of appealability (“COA”) pursuant to 28

U.S.C. §2253(c). A COA shall not issue unless “the applicant has made a

substantial showing of the denial of a constitutional right.” 28 U.S.C.

§2253(c)(2). Thus, a defendant must show that “jurists of reason could

                                     - 11 -
           Case 3:16-cr-00085-MEM Document 347 Filed 01/12/21 Page 12 of 12




disagree with the district court’s resolution of his constitutional claims or that

jurists could conclude the issues presented are adequate to deserve

encouragement to proceed further.” Miller-El v. Cockrell, 537 U.S. 322, 327

(2003); see also Slack v. McDaniel, 529 U.S. 473, 484 (2000).

           Here, a COA will not issue because Defendant has shown neither the

denial of a constitutional right nor that jurists of reason would disagree with

this court’s resolution of his claims.



    VI.       CONCLUSION

           For the reasons set forth above, Defendant’s motion to vacate (Doc.

323), will be DENIED without need for an evidentiary hearing. Additionally,

the court will DENY Defendant’s request for the appointment of counsel and

a COA will not issue.

           An appropriate order will follow.


                                               s/ Malachy E. Mannion
                                               MALACHY E. MANNION
                                               United States District Judge


DATE: January 12, 2021
16-85-03




                                         - 12 -
